    Case 1:19-cv-00150-DMT-ARS Document 264-6 Filed 10/05/22 Page 1 of 2
                                 Darren Cruzan
                                August 23, 2022

·1· · · · · · · · And then eventually we requested

·2· ·additional assistance from sister agencies within the

·3· ·Department of Interior, National Park Service -- all

·4· ·of those that I had mentioned earlier, National Park

·5· ·Service, Fish and Wildlife, U.S. Park Police, BLM.               I

·6· ·don't know that they were all able to send folks.· And

·7· ·then we did have an individual --

·8· · · · · ·Q.· ·Let me stop you.· Earlier you told me

·9· ·that the Department of Interior has 2500 law

10· ·enforcement employees from the Park Service -- I'm

11· ·sorry -- the National Park Service, the Park Police,

12· ·Fish and Wildlife Service, the Bureau of Indian

13· ·Affairs, the Bureau of Reclamation, and the Bureau of

14· ·Land Management.· Which of those did you request and

15· ·receive additional law enforcement personnel in North

16· ·Dakota?

17· · · · · ·A.· ·Yes.· So the request went out to all of

18· ·those agencies.· I can tell you with certainty that we

19· ·had National Park Service law enforcement personnel

20· ·were there.· Fish and Wildlife uniform and maybe

21· ·agents -- we'll just say U.S. Fish and Wildlife

22· ·Service had folks there.· Bureau of Land Management

23· ·had some folks there.· United States Park Police had

24· ·folks there.· I don't believe Bureau of Reclamation

25· ·had anyone available to assist.


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    Case 1:19-cv-00150-DMT-ARS Document 264-6 Filed 10/05/22 Page 2 of 2
                                 Darren Cruzan
                                August 23, 2022

·1· · · · · ·Q.· ·And those individuals when they were

·2· ·there in North Dakota, were they limited like you to

·3· ·just the Standing Rock Sioux Tribe?

·4· · · · · ·A.· ·Yes, sir, they would have been.· They

·5· ·were acting under the authority of Bureau of Indian

·6· ·Affairs, our authority to enforce laws on the Indian

·7· ·reservations.

·8· · · · · ·Q.· ·Did they attend any of the State of North

·9· ·Dakota Law Enforcement Center -- operation center

10· ·meetings like you did?

11· · · · · ·A.· ·Let me give you one more agency that was

12· ·there that I just remembered.· So the Department of

13· ·Interior Office of Law Enforcement Services had

14· ·personnel, one or two, that would come to assist.· And

15· ·those individuals would occasionally attend those

16· ·meetings with me or for me if I wasn't able to attend.

17· ·But I don't recall any of the bureau personnel

18· ·attending any of those meetings.· It's possible that

19· ·they did, but I don't recall that.

20· · · · · · · · There was a time early when -- and it

21· ·kind of changed back and forth that we had folks from

22· ·the Bureau of Indian Affairs in the command structure

23· ·at Morton County that were doing things like -- as

24· ·part of their efforts, you know, working in

25· ·conjunction with them that would do intelligence


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